Case 2:16-cr-01021-LTS-MAR   Document 280   Filed 02/01/17   Page 1 of 6
Case 2:16-cr-01021-LTS-MAR   Document 280   Filed 02/01/17   Page 2 of 6
Case 2:16-cr-01021-LTS-MAR   Document 280   Filed 02/01/17   Page 3 of 6
Case 2:16-cr-01021-LTS-MAR   Document 280   Filed 02/01/17   Page 4 of 6
Case 2:16-cr-01021-LTS-MAR   Document 280   Filed 02/01/17   Page 5 of 6
Case 2:16-cr-01021-LTS-MAR   Document 280   Filed 02/01/17   Page 6 of 6
